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Attorneys for Plaintiffs



                           IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF UTAH


 SHANNON ARNSTEIN; DANA BASSETT;
 MARTIKA           GARTMAN;    SUELLEN
 HENDRIX; DEBRA MACKLIN; JEANINE
 MARK; MICHELLE MEINHOLD; MARIE
                                          STIPULATED MOTION FOR ENTRY
 MICHELS; JILLI OYENQUE; BARBARA
                                          OF A SCHEDULING ORDER
 PORTER; and ELIZABETH WUEBKER,
 individually and on behalf of all others
 similarly situated,,

         Plaintiffs,
 v.                                          Case No. 2:24-cv-00344-RJS

 SUNDANCE HOLDINGS GROUP, LLC,               Chief Judge Robert J. Shelby

                                             Magistrate Judge Daphne A. Oberg

         Defendant.
       The parties, through their undersigned counsel, stipulate and move the Court for a

scheduling order. Under Fed. R. Civ. P. 16(b) and the Local Rules of Practice, an Attorney

Planning Meeting has been held and the Attorney Planning Meeting Report has been completed.

See Ex. A. The parties have conferred and developed a Proposed Scheduling Order, which is filed

simultaneously with this motion. See Ex. B.




Respectfully Submitted                                                   Date: 1/14/2025



/s/_____Frank S. Hedin________________             /s/__Jordan K. Cameron (w/ permission)___
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